                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:94CR155-9-MU

UNITED STATES FO AMERICA                  )
                                          )
vs.                                       )                        ORDER
                                          )
KENT F. LITTLE                            )
__________________________________________)

        This matter is before the court upon the defendant’s request for early termination of his
supervised release. After consulting with defendant’s supervising probation officer, the court
will allow early termination.
        IT IS THEREFORE ORDERED that defendant’s supervised release is hereby terminated
upon completion of DNA testing by the probation office.




      Case 3:94-cr-00155-GCM           Document 322        Filed 12/05/05     Page 1 of 2
                     Signed: December 5, 2005




Case 3:94-cr-00155-GCM   Document 322    Filed 12/05/05   Page 2 of 2
